                  Case 20-60035-lkg       Doc 15        Filed 03/11/20                Page 1 of 1
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    JOHN SMILEY


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                                                                        '$7( March 11, 2020
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35(6(17 Honorable Laura K. Grandy, US Bankruptcy Judge

&2816(/)253/$,17,))         James Ford                                                  Appears

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352&((',1*6 STATUS HRG RE: Disclosure of Attorney Compensation

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 Case is called for status hearing regarding Disclosure of Attorney Compensation. Charles Armgardt
appears as counsel for James Ford. Mark Skaggs appears as counsel for the United States Trustee.
 Pursuant to the statements made in open court, counsel is to provide an itemized statement of fees
 and expenses within 30 days.
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